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                             UNITED STA TES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                      25-CR-80093-ROSENBERG/REINHART
                            CASE NO. _ _ _ _ _ _ _ _ __
                                     18 u.s.c. § 1343
                                     18 u.s.c. § 495
                                     18 U.S.C. § 1957(a)
                                     18 u.s.c. § 2
                                     18 U.S.C. § 981(a)(l)(C)
                                     18 u.s.c. § 492
                                     18 U.S.C. § 982(a)(l)

  UNITED STATES OF AMERICA
                                                                                  BM
  vs.

  JASEN BUTLER,                                                        Jun 11, 2025

        Defendant.                                                                   MIAMI

 - - - - - - - - - - - - -I
                                           INDICTMENT

         The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

         1.    The SEA Card® Program was an order, communications, and invoice system

  designed to enable United States Department of Defense (DOD) vessels and other federal ships to

  purchase fuel from suppliers at seaports worldwide.

         2.    For certain ports, ships placed fuel orders on the SEA Card Open Market, meaning

  that multiple pre-approved vendors in SEA Card had an opportunity to bid on and compete for the

  order. Typically, the Defense Logistics Agency Energy (DLA-E) awarded the contract to the

  lowest priced, technically acceptable (LPTA) offeror. DLA-E was responsible for paying the


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 vendor for the fuel and was reimbursed by the DOD component or federal civilian agency at a set

 rate. DLA-E was in charge of selecting the vendor to supply fuel on behalf of most of the military

 and civilian governmental entities (although some entities, such as the U.S . Coast Guard, made

 their own purchasing decisions).

         3.    It was common for the itinerary of a United States military vessel to change.

  Consequently, fuel orders were often changed or cancelled after a vessel placed an order. When a

  fuel order was cancelled or changed, the DOD component or other agency operating the vessel

  reimbursed the vendor for any costs the vendor incurred as a result of the cancellation or change.

  These costs, when passed on to the government, were collectively termed "ancillary fees ."

  Ancillary fees included demurrage (the cost of waiting to supply the vessel with fuel), backhaul

  (the cost of the loading barge returning with the undelivered fuel) , and other cancellation fees. The

  vendor used SEA Card to request reimbursement for ancillary fees and upload supporting

  documentation. When invoices supporting ancillary fees were transmitted, they were reviewed by

  the contracting officer at DLA-E, by the supply officer on the vessel, and often by others in the

  supply officer' s command structure. The supply officer could dispute the charge if it appeared to

  be unwarranted or if the documentation appeared inadequate.

                       The Defendant and Relevant Entities and Individuals

         4.     Defendant JASEN BUTLER was a resident of Palm Beach County and the principal

  of Independent Marine Oil Services, LLC (IMOS).

         5.     IMOS was a Florida business with an official address at JASEN BUTLER's Palm

  Beach County residence. IMOS was in the business of bidding on fuel contracts for government

  vessels through the online SEA Card Open Market.


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         6.    Company 1 was a global fuel broker with headquarters in Singapore.           IMOS

 contracted with Company 1, which in tum contracted with local fuel suppliers to purchase fuel.

         7.    Company 2 was a business with an official address in Palm Beach County, Florida.

 Company 2 provided disaster cleanup services.

         8.    Individual 1 was a resident of Palm Beach County and the owner of Company 2.

         9.    Individual 2 was a resident of Palm Beach County and an independent contractor

  working with Company 2.

         10.   U.S. Naval Officer 1, a Lieutenant Commander for U.S. Naval Forces Europe,

  worked in procurement.

         11.    U.S . Naval Officer 2, a Navy Lieutenant, was the Supply Officer on the USS Thomas

  Hudner.

                                           COUNTS 1-27
                                             Wire Fraud
                                         (18 U.S.C. § 1343)

          1.    The General Allegations section is re-alleged and incorporated by reference as

  though fully set forth herein.

         2.     From as early as August 2022, and continuing through January 2024, the exact dates

  being unknown to the Grand Jury, in Palm Beach County, in the Southern District of Florida, and

  elsewhere, the defendant,

                                            JASEN BUTLER,

  did knowingly, and with the intent to defraud, devise and intend to devise, a scheme and artifice

  to defraud, and to obtain money and property by means of materially false and fraudulent

  pretenses, representations, and promises, knowing that the pretenses, representations, and


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 promises were false and fraudulent when made, and, for the purpose of executing the scheme and

 artifice, did knowingly transmit and cause to be transmitted in interstate and foreign commerce,

  by means of wire communication, certain writings, signs, signals, pictures and sounds, in violation

 of Title 18, United States Code, Section 1343.

                         PURPOSE OF THE SCHEME AND ARTIFICE

         3.    It was the purpose of the scheme and artifice for the defendant, JASEN BUTLER,

  to unlawfully enrich himself by (a) altering invoices, receipts, records of wire transfers, and other

  documents to reflect expenses that he did not actually incur in his fuel business; (b) submitting

  these false and fraudulent documents to DLA-E and others for reimbursement via interstate wire;

  (c) falsely asserting by email and other communications to DLA-E and others that in order to

  supply the Governrnent with fuel he had sent money overseas and otherwise paid fees that he had,

  in truth and in fact, not paid; (d) concealing his identity from governrnent representatives by

  adopting the false identity "Adam Ogden" and feigning employment by a fictitious fuel division

  oflndividual l ' s company; and (e) using the proceeds of the fraud for his personal use and benefit.

                                  THE SCHEME AND ARTIFICE

         The manner and means by which the defendant, JASEN BUTLER, sought to accomplish

  the object and purpose of the scheme and artifice included, among others, the following:

         4.     From as early as 2022, JASEN BUTLER, on behalf of IMOS, bid on fuel contracts

  through SEA Card, in many cases falsely stating that if the Governrnent accepted his bid then

  cancelled the order or made changes, BUTLER's business would incur large fees.




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         5.    When a vessel cancelled an order, JASEN BUTLER altered and fabricated invoices

 and other records of expenses to falsely represent that IMOS had incurred expenses that IMOS had

 not, in fact, incurred.

         6.    In July 2023 , JASEN BUTLER charged the Government a $557,265 cancellation

 fee for a cancelled fuel delivery to the USS Thomas Hudner in Split, Croatia. BUTLER was

  awarded that contract on or about July 10, 2023. That same day-two hours after the contract

  award- the USS Hudner cancelled the order. U.S. Naval Officer 1 was skeptical that the full cost

  of the order would be unrecoverable so soon after the order was placed. He examined the

  documentation BUTLER provided and noticed a number of discrepancies suggesting the

  documentation had been forged. U.S . Naval Officer 1 therefore instructed U.S. Naval Officer 2,

  the Supply Officer on the USS Thomas Hudner, to dispute the order. U.S. Naval Officer 2 did so.

         7.     On or about July 20, 2023 , JASEN BUTLER wrote to DLA-E: "I' m [sic] know i' m

  under a bit of scrutiny recently for the ancillary charges. I will provide whatever proof NA VY

  needs please just let me know. At the end of the day I just need to get paid back for everything.

  It's a large amount of money (As you know) that I have already sent out. I can't float this forever."

  In truth and in fact, BUTLER had not "sent out" the claimed $557,265. Company 1 had only

  charged him a $3 ,000 cancellation fee for this order.

         8.     On or about September 12, 2023 , JASEN BUTLER spoke with officials at DLA-E

  who denied the claimed $557,265 in charges on the grounds of inadequate documentation.

  BUTLER agreed to withdraw the charge.

         9.     Beginning in September 2023 , defendant JASEN BUTLER began to use an alias to

  hide his true identity and involvement from the United States. Specifically, BUTLER arranged


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 for Individual 1-the owner of Company 2, a business in Palm Beach County, Florida-to provide

 him with a Company 2 email account not tied to his name. BUTLER set the name on the email

 account to "Adam Ogden," which allowed him to secretly bid for the contracts, ostensibly on

  behalf of Company 2. In fact, BUTLER continued to contract with his regular supplier, Company

  1, on behalf of IMOS , and make the arrangements for the government vessels to receive the fuel.

  Company 2 received the government payments and forwarded the money to BUTLER.

         10.   On or about October 26, 2023 , the USS Thomas Hudner issued a Request For Quote

  (RFQ) through SEA Card, placing a fuel order for delivery on October 31 , 2023 in Jeddah, Saudi

  Arabia. JASEN BUTLER bid using Company 2' s SEA Card account. BUTLER wrote in the bid

  comments: "My accounting department has told me to be very clear about the order. The supplier

  has said numerous times that in order to lock in the fuel price and date confirmed we must send

  the funds today (IF we win). They have also stated that they do not return money for any reason."

  BUTLER knew at the time that Company 1 was not requesting payment in advance of delivery.

         11.   The bid placed by JASEN BUTLER was accepted and the fuel contract was awarded

  to Company 2. On or about October 27, 2023 , the USS Hudner cancelled the order.

         12.   On or about October 30, 2023 , JASEN BUTLER, using the alias Adam Ogden,

  charged the Government a cancellation fee of $876,818.75. In support of the cancellation, he

  uploaded false and fraudulent documents via SEA Card and emailed them to DLA-E. These

  documents included: (1) a fabricated order confirmation purportedly from a fuel company in Saudi

  Arabia charging a total of $856,237.50, CIA (cash-in-advance), and (2) an altered wire-transfer

  document, purportedly showing that he had paid that amount to the Saudi Arabian fuel company




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 on October 18, 2023 . BUTLER, in truth and fact, had not placed this order with the fuel company

 shown on the invoice on this order-he had placed the order with his usual broker, Company 1.

         13.   On or about October 30, 2023 , an employee ofDLA-E wrote to "Ogden" asking him

 to do what he could to minimize the cancellation fee . JASEN BUTLER responded as Ogden by

 email: "Please understand that I'm able to fight with suppliers when they don 't already have our

  money. Once they have it I can argue till the cows come home but at the end of the day they don' t

  have to send it back. As you can see from the confirmation we agreed that they would not have to

  send it back. I wish I could compel the Saudis to return it. That being said - We did refuse to send

  them anything else. They initially wanted $150k for the cancellation since they claimed they turned

  away other business and lost said business because the Navy boat cancelled. Like I can't make

  them send it back, they can't make us send more. The system does not allow us to put in a column

  of how much we saved them or I would have." These statements were false . In truth and in fact,

  BUTLER had not provided any funds to the fuel company in Saudi Arabia.

         14.   Although the charge was initially disputed, JASEN BUTLER, posing as Ogden,

  continued to demand payment. On or about December 19, 2023 , the Government approved the

  charge for reimbursement. Company 2 received the money on or about January 19, 2024.

         15.    Between August 2022 and January 2024, JASEN BUTLER submitted to DLA-E

  via email and SEA Card at least 27 false documents purporting to substantiate ancillary fees on at

  least 25 SEA Card orders, as described below. These invoices inflated BUTLER's true expenses

  by more than $5 million.




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                                          USE OF WIRES

           16.   On or about the dates specified below, in the Southern District of Florida, and

 elsewhere, the defendant,

                                         JASEN BUTLER,

 for the purpose of executing and in furtherance of the aforesaid scheme and artifice to defraud, and

  to obtain money and property by means of materially false and fraudulent pretenses,

  representations, and promises, knowing that the pretenses, representations, and promises were

  false and fraudulent when made, did knowingly transmit and cause to be transmitted in interstate

  and foreign commerce, by means of wire communications certain writings, signs, signals, pictures

  and sounds, as described below:


    Count        Approximate         Invoice      Ordering               Description of Wire
                 Date of Wire        Amount        Vessel                    Transmission
       1          8/1 2/2022        $7,362.01    USNS Carson       altered invoice for backhaul fee
                                                    City            transmitted via interstate wire
                                                                      through SEA Card upload
       2          8/1 8/2022      $57,000.00          USCGC        altered invoice for cancellation
                                                      Douglas        fee transmitted via interstate
                                                      Denman       wire through SEA Card upload
       3          8/23/2022      $203 ,662.00          USNS        altered invoice for cancellation
                                                      Trenton        fee transmitted via interstate
                                                                    wire though SEA Card upload
       4          8/23/2022         $4,823.48     USNS Bruce       altered invoice for backhaul fee
                                                    Heezen          transmitted via interstate wire
                                                                      through SEA Card upload
       5          8/26/2022       $48,608.00     USS Dextrous      altered invoice for cancellation
                                                                     fee transmitted via interstate
                                                                   wire through SEA Card upload
       6          8/26/2022       $22,725.00         USS           altered invoice for cancellation
                                                   Devastator        fee transmitted via interstate
                                                                   wire through SEA Card upload
       7          9/20/2022       $165 ,500.00     USS Mesa        altered invoice for backhaul fee
                                                    Verde           transmitted via interstate wire
                                                                      through SEA Card upload
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   Count    Approximate      Invoice         Ordering             Description of Wire
            Date of Wire     Amount           Vessel                 Transmission
     8       9/20/2022     $341 ,049.60      USS Mesa     altered invoice for backhaul fee
                                              Verde        transmitted via interstate wire
                                                               through SEA Card upload
     9       9/20/2022      $27,500.00       USS Mesa     altered invoice for overtime fee
                                              Verde        transmitted via interstate wire
                                                               through SEA Card upload
     10      9/26/2022      $40,250.00      USNS Puerto   altered invoice for overtime fee
                                               Rico        transmitted via interstate wire
                                                               through SEA Card upload
     11       12/6/2022     $33 ,623 .00    USS Forrest   altered invoice for backhaul fee
                                             Sherman       transmitted via interstate wire
                                                               through SEA Card upload
     12      12/1 5/2022   $1 ,445,441.68   USS Hershel   altered invoice for backhaul fee
                                             Williams      transmitted via interstate wire
                                                               through SEA Card upload
     13      2/17/2023     $108,035 .67         USCGC     altered invoice for backhaul fee
                                                 Stone      transmitted via interstate wire
                                                               through SEA Card upload
     14       2/ 17/2023   $101 ,53 7.27    USS Arleigh   altered invoice for backhaul and
                                              Burke       quantity change fee transmitted
                                                          via interstate wire through SEA
                                                                       Card upload
     15       3/1/2023      $54,128.00      USS Patriot    altered invoice for cancellation
                                                              fee transmitted via interstate
                                                           wire through SEA Card upload
     16       3/1 /2023     $3 1,870.00     USS Patriot    altered invoice for cancellation
                                                              fee transmitted via interstate
                                                           wire through SEA Card upload
     17       3/23/2023     $130,11 7.90    USS Truxton   altered invoice for backhaul fee
                                                            transmitted via interstate wire
                                                               through SEA Card upload
     18       3/28/2023     $69,009.49       SS Gopher        altered invoice for backhaul
                                               State         fees transmitted via interstate
                                                           wire through SEA Card upload
     19       5/7/2023      $81 ,840.00     SS Keystone   altered invoice for backhaul and
                                               State        overtime fees transmitted via
                                                             interstate wire through SEA
                                                                      Card upload
     20       6/10/2023     $224,75 7.80    USS Oakland   altered invoice for ancillary fees
                                                           transmitted via interstate wire
                                                              through SEA Card upload

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    Count       Approximate          Invoice        Ordering               Description of Wire
                Date of Wire        Amount           Vessel                    Transmission
      21         7/26/2023         $557,265.00     USS Thomas        altered invoice for cancellation
                                                     Hudner           and backhaul fees transmitted
                                                                    via interstate wire through SEA
                                                                                Card upload
      22          7/26/2023        $223 ,509.25    USS Antietam      altered invoice for cancellation
                                                                      and backhaul fees transmitted
                                                                    via interstate wire through SEA
                                                                                Card upload
      23          7/28/2023        $726,641.56       USS Paul        altered invoice for cancellation
                                                     Hamilton          fee transmitted via interstate
                                                                     wire through SEA Card upload
      24          8/09/2023        $283 ,950.00       USNS          altered invoice for ancillary fees
                                                      Trenton         transmitted via interstate wire
                                                                        through SEA Card upload
      25          8/29/2023        $343 ,528.91      USS Paul       altered invoice for ancillary fees
                                                     Ignatius         transmitted via interstate wire
                                                                        through SEA Card upload
      26          10/30/2023       $856,237.50     USS Thomas           altered order confirmation
                                                     Hudner           requiring payment in advance
                                                                      transmitted via interstate wire
                                                                        through SEA Card upload
      27          1/17/2024        $831 ,749.63        MV                 altered invoice for fuel
                                                     Sagamore         submitted to DLA transmitted
                                                                        via interstate wire bv email

           In violation of Title 18, United States Code, Sections 1343 and 2.

                                            COUNTS 28-33
                                                Forgery
                                           (18 U.S.C. § 495)

           1.    The General Allegations section is re-alleged and incorporated by reference as

  though fully set forth herein.

           2.    On or about the dates specified below, in Palm Beach County in the Southern District

  of Florida, and elsewhere, the defendant,

                                          JASEN BUTLER,
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  falsely made, altered, forged , and counterfeited an order, certificate, receipt, contract, and other

  writing, for the purpose of obtaining and receiving, and of enabling any other person, directly or

  indirectly, to obtain and receive from the United States and any officers and agents thereof any

  sum of money, with each forgery below constituting a separate and distinct count of this

  Indictment:

    Count        Approximate                  Forged Writing                   Approximate Sum of
                Date of Forgery                                                  Money Sought
      28          12/15/2022         Invoice for backhaul fee related to a         $1 ,445,441
                                        fuel order for the USS Hershel
                                                    Williams
      29           2/17/2023        Invoice for ancillary fees related to a          $101 ,537
                                    fuel order for the USS Arleigh Burke
      30           7/17/2023       Invoice for cancellation fees related to          $557,265
                                       a fuel order for the USS Thomas
                                                     Hudner
      31           7/28/2023       Invoice for cancellation fee related to a         $726,641
                                    fuel order for the USS Paul Hamilton
      32          10/30/2023                  Wire transfer receipt                  $856,237

      33           1/17/2024         Invoice for fuel delivery to the MV             $831 ,749
                                                  Sagamore

           In violation of Title 18, United States Code, Sections 495 and 2.

                                           COUNTS 34-35
                                          Money Laundering
                                         (18 U.S.C. § 1957(a))

           1.    The General Allegations section is re-alleged and incorporated by reference as

  though fully set forth herein.

           2.    On or about the dates specified below, in Palm Beach County, in the Southern

  District of Florida, and elsewhere, the defendant,

                                           JASEN BUTLER,

  did knowingly engage and attempt to engage in a monetary transaction by, through, and to a
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  financial institution affecting interstate and foreign commerce in criminally derived property of a

  value greater than $10,000, such property having been derived from specified unlawful activity,

  and knowing that the property involved in the monetary transaction was derived from some form

  of unlawful activity, as set forth below:

    Count       Approximate        Approximate             Description of Monetary Transaction
                   Date              Amount

      34          10/27/2023        $1 ,169,545      Wire transfer from a PNC Bank Account ending in
                                                     7061 to a Bank Account associated with Title
                                                     Company 1 for the purchase of real property
                                                     located at 5051 SW Markel Street, Palm City,
                                                     Florida 34990
      35          1/31 /2024        $2,040,719       Wire transfer from a PNC Bank Account ending in
                                                     7061 to a Bank Account associated with Title
                                                     Company 2 for the purchase of real property
                                                     located at 190 County Road 173 , Westcliffe,
                                                     Colorado 81252

           It is further alleged that the specified unlawful activity is wire fraud, in violation of Title

  18, United States Code, Section 1343.

           In violation of Title 18, United States Code, Section 1957(a).

                                   FORFEITURE ALLEGATIONS

           1.    The allegations of this Indictment are hereby re-alleged and by this reference fully

  incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

  property in which the defendant, JASEN BUTLER, has an interest.

           2.    Upon conviction of a violation of Title 18, United States Code, Section 1343, as

  alleged in this Indictment, the defendant, JASEN BUTLER, shall forfeit to the United States any

  property, real or personal, which constitutes or is derived from proceeds traceable to such offense,

  pursuant to Title 18, United States Code, Section 98l(a)(l)(C).


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          3.     Upon conviction of a violation of Title 18, United States Code, Section 495 , as

  alleged in this Indictment, the defendant, JASEN BUTLER, shall forfeit to the United States any

  counterfeits of any coins or obligations or other securities of the United States or of any foreign

  government, or any articles, devices, and other things made, possessed, or used in violation of this

  chapter or any material or apparatus used or fitted or intended to be used, in the making of such

  counterfeits, articles, devices or things, found in the possession of any person without authority

  from the Secretary of the Treasury or other proper officer, pursuant to Title 18, United States Code,

  Section 492.

          4.     Upon a conviction of a violation of Title 18, United States Code, Section 1957(a), as

  alleged in this Indictment, the defendant, JASEN BUTLER, shall forfeit to the United States any

  property, real or personal, involved in such offense, or any property traceable to such property,

  pursuant to Title 18, United States Code, Section 982(a)( l).

          5.     The property directly subject to forfeiture as a result of the alleged offenses includes,

  but is not limited to, the following :

       a. Real property located at 190 County Road 173, Westcliffe Colorado 81252 ;

       b. Real property located at 5051 SW Markel Street, Palm City Florida 34990;

       c. A forfeiture money judgment representing the value of any property which constitutes or

           is derived from proceeds traceable to the defendant's commission of the offenses.

          6.     If any of the property subject to forfeiture, as a result of any act or omission of the

  defendant:

       a. cannot be located upon the exercise of due diligence;

      b. has been transferred or sold to, or deposited with, a third party;


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       c. has been placed beyond the jurisdiction of the court;

      d. has been substantially diminished in value; or

       e. has been commingled with other property which cannot be divided without difficulty,

  the United States shall be entitled to forfeiture of substitute property under the provisions of Title

  21 , United States Code, Section 853(p).

         All pursuant to Title 18, United States Code, Section 98l(a)(l)(C), Title 18, United States

  Code, Section 982(a)(l ), Title 18, United States Code, Section 492, and the procedures set forth

  in Title 21 , United States Code, Section 853 , as incorporated by Title 18, United States Code,

  Section 982(b)(l ), and Title 28, United States Code, Section 2461(c).

                                                 A TRUE BILL



                                                 FO



 ~ 9,.
   UNITED STA TES ATTORNEY



   JONATHANP
   VIJAYRAO
   TRIAL ATTORNEYS
   ANTITRUST DIVISION




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                             UNITED STATES     on FLSD
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                                                     COURT
                                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                25-CR-80093-ROSENBERG/REINHART
                                                              CASE NO.: _ _ _ _ _ _ _ _ _ _ _ _ _ __

v.
                                                              CERTIFICATE OF TRIAL ATTORNEY
JASEN BUTLER,
                                                              Supersed ing Case Information :
--------------::-------:--- - - -- /
                  Defendant.                                  New Defendant(s) (Yes or No) _ _
Court Division (select one)                                   N umber of New Defendants _ _
    □ Miami       □ Key West □ FTP                            Total number of new counts _ _
    □ FTL         EIWPB

I do hereby certify that:
     J.    I have carefully considered the allegations of the Indictment, the number of defendants, the number of probable
           witnesses and the legal complexities of the Indictment/Information attached hereto.
     2.    I am aware that the information suppl ied on this statement will be relied upon by the Judges of this Court in setting
           their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, 28 U.S.C. §3161 .

     3.    Interpreter: (Yes or No) _N _o _
           List language and/or dialect: _ _ _ _ _ _ __

     4.    This case will take   6    days for the parties to try.
     5.    Please check appropriate category and type of offense listed below:
           (Check only one)                          (Check on ly one)
           I D Oto 5 days                         □ Petty
           II El 6 to 10 days                     □ Minor
           III D 11 to 20 days                    D Misdemeanor
           IV D 21 to 60 days                     El Felony
           V D 61 days and over

     6.    Has this case been previously filed in thi s District Court? (Yes or No) ,;_N....:..
                                                                                          o_
           If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _
     7.    Has a complaint been filed in this matter? (Yes or No) -     No -
           If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Magistrate Case No ._ _ _ _ _ _ _ _ _ _ _ _ __
     8.    Does this case relate to a previous ly fi led matter in th is District Court? (Yes or No )c....
                                                                                                     N....:..o_
           If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No ._ _ __ _ _ __ _ _ _ _ _ _ _ _ __
     9.    Defendant(s) in federal custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ _ __
     10.   Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ __
     11.   Rule 20 from the _____ District of _ _ _ _ _ __
     12.   Is this a potential death penalty case? (Yes or No) _N_o_
     13.   Does this case originate from a matter pending in the Central Region of the U.S . Attorney' s Office
           prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? (Yes or No) _N__      o_
     14.   Did th is matter invo lve the participation of or consu ltation with Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. Attorney ' s Office, which concluded on January 22, 2023? _N_o__
     15.   Did this matter involve the participation of or consultation with Magistrate Judge Marty Fulgueira
           Elfenbein during her tenure at the U.S. Attorney ' s Office, which concluded on March 5, 2024? -     No -
     16.   Did this matter invo lve the participation of or consultation with Magistrate Judge Ellen F. D' Angelo
           during her tenure at the U.S. Attorney's Office, which concluded on October 7, 2024? ~



                                                               By JATHA
                                                                   ~ )i\      ~~
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                                                                     DOJTrial~
                                                                     SDFL Court ID No. A5503242
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  Defendant's Name: _ _ _ _ _____.:J=A-=S=E=--cNc...=B=:...U=--=T-=L=E=R=------------------

  Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Counts #:   1 - 27

    Title 18 United States Code Section 1343

     Wire Fraud
  * Max. Term of Imprisonment:    20 years as to each count
  * Mandatory Min. Term oflmprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Counts#: 28 - 33

    Title 18 United States Code Section 495

     For e
  * Max. Term of Imprisonment:      10 years as to each count
  * Mandatory Min. Term of Imprisonment (if applicable):       N/A
  * Max. Supervised Release:   3 years
  * Max. Fine:   $250,000 or twice the gross gain or loss from the offense

  Counts#: 34 - 35

    Title 18, United States Code, Section 1957(a)

    Money Laundering
  * Max. Term of Imprisonment:      10 years as to each count
  * Mandatory Min. Term of Imprisonment (if applicable):       N/A
  * Max. Supervised Release:   3 years
  * Max. Fine:   $500,000 or twice the value of the property involved in the transaction




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
